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  8
  9                         UNITED STATES DISTRICT COURT
 10                       CENTRAL DISTRICT OF CALIFORNIA
 11 Y.Y.G.M. SA d.b.a. BRANDY                     Case No. 2:19-cv-04618-RGK (JPRx)
    MELVILLE, a Swiss corporation,                Judge: Hon. R. Gary Klausner
 12
                 Plaintiff,
 13                                               PLAINTIFF YYGM S.A. D.B.A.
          vs.                                     BRANDY MELVILLE’S
 14                                               STATEMENT OF GENUINE
    REDBUBBLE, INC., a Delaware                   DISPUTES OF MATERIAL FACT
 15 corporation,                                  IN OPPOSITION TO DEFENDANT
                                                  REDBUBBLE, INC.’S MOTION
 16               Defendant.                      FOR SUMMARY JUDGMENT
 17                                               Date: June 1, 2020
                                                  Time: 9:00 a.m.
 18                                               Crtrm.: 850
 19
                                                  Pre-Trial Conference:      June 15, 2020
 20                                               Trial Date:                June 30, 2020
 21
 22                              REDACTED VERSION OF
 23             DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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                                              -1-                Case No. CV14-04637-PA (JPRx)
        PLAINTIFF YYGM S.A. D.B.A. BRANDY MELVILLE’S STATEMENT OF GENUINE DISPUTES OF
      MATERIAL FACT IN OPP. TO DEFENDANT REDBUBBLE, INC.’S MOTION FOR SUMMARY JUDGMENT
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